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                 United States Court of Appeals
                                  For the Seventh Circuit
                                  Chicago, Illinois 60604

                                        April 4, 2024

By the Court:

No. 24-1437
                                                    Appeal from the United
CUTBERTO VIRAMONTES, et al.,                        States District Court for
        Plaintiffs - Appellants,                    the Northern District of Illinois,
                                                    Eastern Division.
          v.
                                                    No. 1:21-cv-04595
COUNTY OF COOK, et al.,
        Defendants - Appellees.                     Rebecca R. Pallmeyer,
                                                          Chief Judge.

                                         ORDER

     A preliminary review of the short record indicates that the order appealed from
may not be a final appealable judgment within the meaning of 28 U.S. C. § 1291.

       Generally, an appeal may not be taken in a civil case until a final judgment
disposing of all claims against all parties is entered on the district court's civil docket
pursuant to Fed. R. Civ. P. 58. See Alonzi v. Budget Construction Co., 55 F.3d 331, 333 (7th
Cir. 1995); Cleaver v. Elias, 852 F.2d 266 (7th Cir. 1988).

       In the present case, as appellees note in their docketing statement, the district
court dismissed the claims of plaintiff Rubi Joyal without prejudice. This is problematic.
See Lauderdale-El v. Ind. Parole Bd., 35 F.4th 572, 576 (7th Cir. 2022) (“[T]he phrase ‘without
prejudice’ makes jurisdictional antennae twitch for appellate judges ….”). Quite simply,
a dismissal without prejudice signals to a party (and the court) that there exists an
opportunity to revive the claims that were dismissed. Id.

       Plaintiff Rubi Joyal’s memorandum in support of his motion to dismiss him as a
plaintiff in this case states that he “simply seeks to leave the case and does not intend to
bring another.” (Emphasis added.) Yet, plaintiff Joyal requested that his claims against
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all defendants be without prejudice. Why? Such a dismissal leaves plaintiff Joyal with
an opportunity to revive his claims, creating a jurisdictional issue that needs to be
resolved.

       Plaintiff Joyal is advised that a party’s representation that he is willing to
unequivocally dismiss revivable claims with prejudice will eliminate appellees’ asserted
jurisdictional defect. See Palka v. Chicago, 662 F.3d 428, 433 (7th Cir. 2011). Accordingly,

       IT IS ORDERED that appellants shall file, on or before April 17, 2024, a brief
memorandum stating why this appeal should not be dismissed for lack of jurisdiction.
A motion for voluntary dismissal pursuant to Fed. R. App. P. 42(b) will satisfy this
requirement. Briefing shall be suspended pending further court order.




NOTE: Caption document "JURISDICTIONAL MEMORANDUM." The filing
      of a Circuit Rule 3(c) Docketing Statement does not satisfy your obligation
      under this order.




                                                                                     -over-
